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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

CALAMP WIRELESS NETWORKS
CORPORATION,

                Plaintiff,

V.                                                 Civil Action No. 3:16CV906-HEH

ORBCOMM, INC.,

                Defendant.


                                       FINAL ORDER

         THIS MATTER is beforethe Court on a Stipulation of Dismissal (ECF No. 50)

filed pursuant to Federal Rule of Civil Procedure 41(a)(l)(A)(ii). It appearing to this

Court that all matters of controversy have been fully resolved and compromised, it is

HEREBY ORDERED that this action is DISMISSED WITH PREJUDICE, with each

party to bear its own costs and attorneys' fees.

         The Clerk is directed to send a copy of this Order to all counsel of record.

         It is so ORDERED.




                                                   Henry E. Hudson
                                                   United States District Judge
Date:           a
Richmond,
